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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNTED STATES OF AMERICA,                         )
                                                 )
               Plaintiff,                        )
                                                 )
         v.                                      )          No. 4:16CR00159AGF
                                                 )
LOREN ALLEN COPP                                 )
                                                 )
               Defendant.                        )

                               MEMORANDUM AND ORDER

       This matter is before the Court on Defendant’s Motion for Extension of Time to File

Reply and Request for Pro Bono Transcript of his Non-Jury Trial (Doc. No. 222) and Motion for

Extension of Time to File Defendant’s Objections to the Presentence Investigation Report (Doc.

No. 226). Defendant appears pro se in these proceedings. The United States has filed a

Response (Doc. No. 227), opposing both motions. For the reasons set forth below, Defendant’s

motions will be granted.

       An indigent criminal defendant is entitled to a trial transcript on direct appeal as a matter

of law. Griffin v. Illinois, 351 U.S. 12, 76 S.Ct. 585, 100 L.Ed. 891 (1956); see also Britt v.

North Carolina, 404 U.S. 226, 227, 92 S.Ct. 431, 30 L.Ed.2d 400 (1971).          While the United

States correctly notes that there is no clearly established Supreme Court law providing indigent

defendants with a right to transcripts in order to prepare a motion for new trial, transcripts may

be provided in collateral proceedings upon showing of a particularized need for the documents in

non-frivolous pending cases. See United States v. MacCollom, 426 U.S. 317, 326, 96 S.Ct. 2086,

48 L.Ed.2d 666 (1976).
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        The Court has reviewed Defendant’s financial affidavit and finds that Defendant is

unable to pay for the cost of the transcript. Additionally, although the grounds Defendant raises

in his motion for new trial ultimately may not be well-taken, the Court cannot say at this time

that the issues raised are frivolous. As such, the Court certifies that the transcript requested is

necessary to Defendant to complete his reply to the government’s detailed, twenty-page response

to the Motion for New Trial. The transcript will, of course, also be necessary with respect to any

possible future appeal. As a result, the Court will grant the request for the transcript of his non-

jury trial, and will permit Defendant a brief period of time following receipt of the transcript to

file his reply. As the government has noted, however, Defendant was able to file a very detailed

motion for new trial without the transcript, and the Court believes that Defendant should be able

substantially to prepare his reply without the transcript. As such, Defendant should not await

receipt of the transcript to substantially prepare his reply.

        The Court will also grant Defendant’s request for an extension of time to file his

objections to the presentence report, and will continue the sentencing hearing. The Court is not

unmindful of the burden on the victims that results from a delay of the sentencing hearing.

However, Defendant is in custody, is appearing pro se, and this is his first request for an

extension of time related to the objections. Moreover, Defendant’s request for an additional 30

days was not filed on the eve of the sentencing, and is not an unreasonable request. Defendant is

cautioned, however, to proceed expeditiously, and should not expect further extensions of time to

file his objections to the presentence report.1

        Accordingly,



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   In support of his request, Defendant notes that he must hand write his objections, and has
limitations on his library access. These limitations, however, are a result of Defendant’s
voluntary choice to proceed pro se, and he continues to have standby counsel to represent him.
                                                   2
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       IT IS HEREBY ORDERED that Defendant’s Motion for Extension of Time to File

Reply and Request for Pro Bono Transcript of his Non-Jury Trial (Doc. No. 222) is GRANTED.

The Court hereby directs the Clerk of Court to have the trial transcript prepared and paid for

through Criminal Justice Act funds. Defendant shall have fourteen (14) days following receipt

of the transcript to file a Reply to the Government’s Response in Opposition to his Motion for

New Trial.

       IT IS FURTHER ORDERED that Defendant’s Motion to Extend the Time to File

Defendant’s Objections to the Presentence Investigation Report (Doc. No. 226) is GRANTED.

The Sentencing Hearing scheduled for April 5, 2019 is canceled, to be reset following

completion of the trial transcript.

       Dated this 18th day of March, 2019.




                                               AUDREY G. FLEISSIG
                                               UNITED STATES DISTRICT JUDGE




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